       Case 1:21-cr-00028-APM Document 448 Filed 10/07/21 Page 1 of 2




           U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA



UNITED STATES                            ) Case No.: 21-cr-28-APM
                                         )
                                         )
vs.                                      )
                                         )
ROBERTO MINUTA                           )
                                         )
                                         )


                  MOTION TO WITHDRAW AS COUNSEL

Counsel for ROBERTO MINUTA, moves to withdraw as counsel.

      1.     Undersigned counsel is retiring from the practice of law for medical

reasons and so files this motion and requests permission to withdraw from further

representation of the Mr. Minuta and for the appointment of new counsel for him.

      3.     Coounsel informed Mr. Minuta of this motion already. And. as

indicated on the certificate of service, undersigned counsel has also served a copy

of this motion on Mr. Minuta.

      WHEREFORE counsel requests leave of the court to withdraw and for the

appointment of new counsel for Mr. Minuta.

                                       Respectfully submitted,

                                       /s/ Jenifer Wicks
                                       _____________________________
                                       JENIFER WICKS
                                       Blind Justice Legal Services
                                       PO /box 60585
                                       Washington, DC 20039
                                       (202) 839-5102
        Case 1:21-cr-00028-APM Document 448 Filed 10/07/21 Page 2 of 2




                                         jenifer@blindjusticedc.org

                           CERTIFICATE OF SERVICE

       I hereby certify that on October7, 2021 that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF System, which will send
notice of such filing to the parties in this matter. I further certify that on October 7,
2021, I have sent the foregoing document by electronic mail and U.S. Mail, first-
class postage prepaid to Mr. Minuta at the last email and postal addressees that
counsel had for him:




                                         /s/ Jenifer Wicks
                                         _____________________________
                                         JENIFER WICKS
